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                   IN THE SUPERIOR COURT OF FULTON COUNTli-__..~~~--__.
                               STATE OF GEORGIA



 IN RE: SPECIAL PURPOSE GRAND JURY              2022-EX-000024



 ORDER GRANTING VERIFIED APPLICATION FOR PRO HAC VICE ADMISSION
                  PRESENTED BY MILES M. HART

       Upon Verified Application and with good cause shown, IT IS ORDERED that Miles M.

Hart be admitted Pro Hae Vice in this matter.

       It is so ORDERED this 15th of September, 202,,____




                                                  Judge                     ey
                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit
Filed and served electronically via eFileGA
